                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TENNESSEE
                         NORTHERN DIVISION AT KNOXVILLE


 UNITED STA TES OF AMERICA                             )
                                                       )
 V.                                                    )        No.:   3:09-CR-79-011
                                                       )
 MARY ROBERTS a/k/a MARY CARROLL                       )


                             AGREED ORDER OF REVOCATION

        A Petition for Warrant for Offender Under Supervision has been filed against MARY

 ROBERTS a/k/a MARY CARROLL (hereinafter "Defendant"), seeking revocation of her supervised

 release; and the said Defendant admits that she has violated the conditions of her supervised release

 as alleged in Violation Numbers 1 and 2 as set forth in the Petition. An agreement has been reached

 between the parties, recommending that the Defendant's current supervised release should be

 revoked and that she should receive a sentence of five (5) months incarceration followed by twenty-

 four (24) months of supervised release, with the original terms of supervised release to remain in

 effect. The parties have further agreed that it be recommended that she serve her sentence at the

 Bureau of Prisons Facility in Alderson, West Virginia.

        The Defendant waives her right to a hearing pursuant to Rule 32 of the Rules of Criminal

 Procedure, waives her right to allocute at a revocation hearing, and further asks that the agreement

 between the Defendant and the United States, pursuant to Rule 11 of the Federal Rules of Criminal

 Procedure, be found to be a proper sentence.

        This Court has considered the Chapter Seven policy statements in the United States

 Sentencing Guidelines, and finds as follows: The violations committed by the defendant are "Grade

 C" violations; the Defendant's criminal history category is III; and the advisory guideline range is

 5 - 11 months, with a statutory maximum sentence of 2 years imprisonment.



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        Additionally, the Court has considered the sentencing factors listed in 18 U.S.C. §3553(a),

 and concludes that the recommended sentence is sufficient, but not greater than necessary, to comply

 with the purposes set forth in 18 U.S.C. §3553(a), while taking into consideration all of those factors

 and the Chapter Seven policy statements. The recommended sentence is within the advisory

 guideline range; and is necessary to reflect the seriousness of the offenses committed by the

 Defendant, to promote respect for the law, and to deter others who violate supervised release.       It

 is therefore

         ORDERED that the Defendant's supervised release be and hereby is revoked. It is further

         ORDERED that the Defendant be and hereby is sentenced to a term of five (5) months

 incarceration followed by twenty-four (24) months of supervised release; with the original terms of

 supervised release to remain in effect. The parties have also agreed that it be recommended that the

 Defendant serve her sentence at the Bureau of Prisons Facility in Alderson, West Virginia; and that

 the Defendant will receive credit for time served in federal custody on this matter, including 3 days

 from November 10-12, 2014 erroneously in federal custody in the Blount County, Tennessee, Jail.

        ENTERED this         II~ ft. day of December, 2014.

                                                               ~~
                                                                United States District Judge




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                                                                          . GULLEY, JR., Esq.
                                                                A omey for Defendant



-d~~
 Defendant      ·




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